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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 United States of America,                   )       CASE NO. 5:13 CR 420
                                             )
                       Plaintiff,            )       JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Benjamin Suarez, et al.,                    )       Memorandum of Opinion and Order
                                             )
                       Defendants.           )




        INTRODUCTION

        This matter is before the Court upon the Motion of Benjamin Suarez to Suppress

 Documents That Barbara Housos and Her Counsel Provided to the Government and to Require

 the Government to Return the Documents (Doc. 47). Defendant Michael Giorgio moves to join

 in the motion (Doc. 62), as does defendant Suarez Corporation Industries, Inc. (Doc. 76). The

 motions to join are GRANTED and, therefore, the substantive ruling on the motion to suppress

 will apply with equal force to all defendants. Also pending is the Motion of Benjamin Suarez to

 Strike Allegations Regarding Privileged Documents (Doc. 52). For the reasons that follow, the


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 motions to suppress and strike are DENIED.

        FACTS

        Only those facts necessary for a resolution of the instant motions are set forth herein.

        Defendants are charged with various counts under the Federal Election Campaign Act

 (“FECA”) and are further charged with obstruction of justice based, generally speaking, on the

 alleged failure to comply with grand jury subpoenas. Defendant Suarez is also charged with

 obstruction of justice based on witness intimidation.

        Defendants move to suppress two “categories” of documents. The first category consists

 of a five-page typewritten narrative apparently prepared by defendant Suarez. This typewritten

 narrative appears to have been delivered to defendant Giorgio, as well as Barabra Housos, SCI’s

 controller. Each received the narrative with a personalized handwritten note attached. It appears

 that the handwritten notes were also prepared by Suarez. The second category of documents are

 the “Guthrie documents.” The “Guthrie documents” consist of an email from Scott Guthrie, an

 employee working in Josh Mandel’s office, to defendant Suarez discussing a $30,000

 contribution, as well as a fax cover sheet. The documents also contain handwritten notations. In

 addition to these two categories, defendants argue that a particular email sent from SCI corporate

 counsel to Suarez’s assistant is protected by the attorney-client privilege and should be stricken

 from the superseding indictment.

        Defendants move to suppress the documents and to strike allegations regarding the first

 category of documents from the superseding indictment. The government opposes the motion.

 Each category of documents and the email will be addressed in turn.

        ANALYSIS


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        1. The narrative and handwritten documents1

        Defendants move to suppress the use of these documents on the grounds that the

 documents are covered by the attorney-client privilege and work product doctrine.

        It appears that a driver for Suarez delivered the documents to Housos at home during the

 summer of 2012, during a time when Housos was recovering from surgery. At this point,

 Housos had been advised that she would be subpoenaed to testify before the grand jury. Other

 SCI employees, as well as family members of Suarez had either been subpoenaed to testify or

 already testified. The handwritten note is as follows:

        Barb,

        I want to spare you doing a grand jury testimony in your condition. I want to see if you
        can do an affidavit like Donna.

        Mike P. can draft it from the attached brief to the new attorneys. Just look at your parts
        in the brief and tell me if it is accurate. This brief is my memory of what happened. If
        accurate, just write OK on it. If you have corrections make notes. Return to me in this
        envelope and give to Joe to bring back to me.

        Do not tell anyone about this. Also, the new attorneys said no one should admit to
        wrongdoing even with a letter of immunity. That’s a lie. They will still prosecute you as
        a co-conspirator. Also, do not admit to anything you think might be wrongdoing to the
        attorneys. They could turn you in. Your testimony is key to keeping Mike G. from
        getting indicted which would take down SCI. Do not call me on this as our lines may be
        tapped.

        Attached to the handwritten note is the five-page type written narrative. At the top of the

 page is the notation “Attorney Client Privilege Work Product.” The document also provides that


  1
          Although defendants move to suppress these documents,
          defendants point to no constitutional violation arising from the
          search warrant and subsequent search itself. Rather, it appears that
          defendants seek an evidentiary ruling regarding the admissibility
          of these documents. Accordingly, the Court will treat defendants’
          motion as such.

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 it is a “briefing for new attorneys.” Page one of the document describes SCI as a corporate

 entity. The remainder of the document appears to disclose events related to the contributions.

 According to the document, Suarez was contacted by Jim Rennaci and Josh Mandel about raising

 funds in a short time period. Suarez contacted Giorgio to “ask him if he would ask the top

 earning executives to contribute.” The narrative details in essence that Suarez really didn’t know

 what Giorgio was doing with regard to the contributions. For example, Suarez writes, “After the

 Blade story, Suarez called Girogio and asked him if he had set up the loans for the contributors.

 Girogio said ‘no,’ that he handled it another way. He would not tell Suarez what he did.” The

 narrative further states that “in the fall of 2011, most of the contributors had paid back profits

 sharing advance and all of them it [sic] paid back by end of winter 2012.” The narrative

 discusses legal advice Suarez sought from a law firm regarding the legality of the contributions.

 It further indicates that the contributions were set up as profit sharing and that “Barb

 Housos...keeps a side written hand log of who owes profit sharing advances.”

        It appears that Housos provided her copy of these documents to her attorney, Bradley

 Barbin. Because Barbin was unsure whether the documents were privileged, he provided them

 to a designated filter attorney in the United States Attorney’s Office. The filter attorney then

 applied to Chief Judge Oliver for an ex parte order allowing the government to use the

 documents during the course of its grand jury investigation. The government argued to Judge

 Oliver that the documents are not covered by the attorney-client privilege and that even if the

 privilege applies, the crime-fraud exception negates any such applicability. Judge Oliver

 accepted the government’s argument and in a short order determined that “communications

 between Benjamin Suarez and Barbara Housos relating to the information she may provide to the


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 government and possible testimony under a grant of immunity are not protected under the

 attorney-client privilege on the basis that the crime-fraud exception applies to those

 communications.”

        The government seized Giorgio’s version of the document from Giorgio’s office after

 executing a search warrant directed at SCI.2 The handwritten note attached to Giorgio’s version

 provides as follows:

        Mike,

        This is my memory of what happened. If this is accurate, send back as OK or make
        corrections. Do not call me...lines may be tapped.

        The same five-page typewritten document is attached to Girogio’s note. In this

 document, however, Giorgio made handwritten changes, including a change to the profit-sharing

 section. Giorgio edited the document to state, “Therefore, Suarez suggested to Giorgio that he

 offer the people profit sharing early because we will have profit sharing later in the year.

 Anyhow, unfortunately, at the time [of] the communication my intent was not made clear to

 Giorgio. My intent was to advance the profit sharing to those individuals who would want to

 donate...” In addition, Giorgio edited Suarez’s statement that “After the Blade story, Suarez

 called Girogio and asked him if he had set up the loans for the contributors. Girogio said ‘no,’

 that he handled it another way. He would not tell Suarez what he did.” Giorgio crossed out the

 entire sentence and wrote “never any conversation as to advance loans.” Similarly, while Suarez

 recounted a conversation he purportedly had with Giorgio after FBI agents interviewed the

 contributors, Giorgio again crossed out the sentence and wrote, “conversation never took place.”


  2
          It also appears that the government obtained a copy of Housos’s
          version after executing a search warrant.

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        At the time these documents were shared, Suarez, Giorgio, and Housos were parties to a

 joint defense agreement (“JDA”). The JDA allows information to be shared between SCI,

 Suarez, Giorgio, and Housos and their respective attorneys while protecting the confidentiality of

 materials and without waiving privilege. Sometime thereafter, it appears that Housos formally

 withdrew from the agreement. The duties to maintain confidentiality, however, continue after

 withdrawal.

        Defendants argue that the documents are protected by the attorney-client privilege.

 According to defendants, the five-page typewritten narrative was provided to all counsel who

 were parties to the JDA. Defendants claim that Suarez prepared the document for the purposes

 of facilitating the collection of information for SCI’s newly retained counsel. Defendants argue

 that the handwritten note sent to Housos contains confidential legal advice that Suarez obtained

 from his attorneys. Namely, Suarez informs Housos that she was receiving inaccurate legal

 advice and that she may be able to avoid testifying before the grand jury by providing an

 affidavit instead. Defendants argue that because Housos and her attorney signed the JDA, they

 were prohibited from disclosing this document to the government. SCI’s former in-house

 counsel avers that Suarez provided the narrative to at least three of the counsel that signed the

 JDA.

        Defendants also argue that the documents are protected from disclosure by the work

 product doctrine. According to defendants, Suarez prepared the documents in anticipation of

 litigation and to assist new counsel in becoming familiar with the facts of the case. In addition,

 the typewritten document contains the mental impressions of Suarez’s legal counsel. For

 example, Suarez indicates that counsel stated that the laws surrounding the ability to reimburse


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 employees were esoteric and difficult and that Suarez received inaccurate advice from the law

 firm. It further provides that attorney John McCaffery recommended setting up a legal defense

 team. According to defendants, this information is covered by the work product doctrine.

        The government claims that the document belies any argument that it contains

 confidential legal advice from Suarez’s counsel to Suarez. According to the government, on its

 face the handwritten document is clear evidence that Suarez intended to intimidate Housos into

 adopting his version of the “facts.” Moreover, Suarez acknowledges that it is his “memory of

 what happened.” According to the government, the documents are filled with falsehoods. For

 example, the government points out that the summary provides as follows, “since profit sharing

 is not paid off of the general ledger account, Barb Housos...keeps a side written hand log of who

 owes profit sharing advances.” The government claims that no such log was ever produced in

 response to the grand jury subpoenas issued to SCI because no such log exists. As such, the

 document does not contain “legal advice” and, instead, is itself evidence of obstruction of

 justice. Thus, even if the attorney-client privilege somehow applied, the crime-fraud exception

 negates application of the privilege. According to the government, the issue of attorney-client

 privilege and the crime-fraud exception were previously decided by Judge Oliver and the rulings

 are the “law of the case.”

        The government also argues that the JDA does not govern the issues at hand. The

 government has not been provided with a copy of the JDA. According to the government, the

 typewritten document was not provided to Housos’s prior counsel. The government also argues

 that when these issues were raised with the government in 2012, Suarez and SCI complained

 only that the typewritten document was privileged. Neither alleged that the handwritten note


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 was covered by the attorney-client privilege. The government further argues that the JDA

 cannot create a privilege where none exists. Thus, the fact that witnesses collaborated to create a

 joint recollection does not create a privileged document simply because the witnesses are parties

 to a joint defense agreement.

        In reply, defendants argue that the law of the case doctrine does not apply because this is

 not the same proceeding as the one in which Judge Oliver issued the order. In addition, the order

 was issued on an ex parte basis. As such, the “parties” were not the same and it would be

 improper to bind defendants to the ruling when they did not have an opportunity to present any

 argument in opposition. Defendants further argue that the “crime fraud” exception does not

 apply. According to defendants, Suarez prepared the documents for lawful purposes, specifically

 to assist counsel in gathering relevant facts. On the face of the document, Suarez describes the

 document as his recollection of events and requests that Giorgio and Housos make any changes

 to the document if their recollections are different. Giorgio, in fact, made changes to the

 document and in two places indicated a direct contradiction to Suarez’s version of events.

 Defendants argue that had Suarez intended to intimidate Housos, he could have simply instructed

 her to adopt his version of the facts. There is simply no indication that Suarez was trying to

 convince Housos to adopt a false version of events.

        As an initial matter, the Court agrees with defendants that Judge Oliver’s ex parte order

 is not “law of the case.” Defendants correctly point out that the ex parte order was issued in a

 different proceeding–a proceeding to which the defendants were not parties.

        Pursuant to the “law of the case” doctrine, “findings made at one point in the litigation

 become the law of the case for subsequent stages of that same litigation.” Rouse v.


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 DaimlerChrysler Corp., 300 F.3d 711, 715 (6 th Cir. 2002)(citations omitted). Circuit courts

 review a lower court’s application of the law-of-the case doctrine for an abuse of discretion. Id.

        The law of the case doctrine is not an inexorable command, and courts must use
        ‘common sense’ in applying it. Accordingly, the law of the case doctrine is discretionary
        when applied to a coordinate court or the same court's own decisions. Nevertheless, a
        court's power to reach a result inconsistent with a prior decision reached in the same case
        is to be exercised very sparingly, and only under extraordinary conditions.

 Bench Billboard Co. v. City of Covington, 2013 WL 5942230 (6th Cir. Nov. 1, 2013)(internal

 quotations and citations omitted). This doctrine applies to cases involving the same parties. See,

 e.g., Id. at n. 11 (“law-of-the-case doctrine applies here because this is a successive appeal in the

 same case between the same parties”). The law of the case doctrine does not apply to orders

 issued on an ex parte basis because the complaining party did not have an opportunity to be

 heard. See, Munro v. Post, 102 F.2d 686, 688 (2nd Cir.1939)( “The ‘law of the case‘ in the latter

 sense requires that the order of the first judge, unless merely a formal or an ex parte order, shall

 not be vacated or nullified by a later judge of the same court.”). See also, United States. v.

 Pineda-Mendoza, 2012 WL 4056829 (E.D. Cal. Sept. 14, 2012)(“It is generally unfair to

 preclude a party from later arguing an otherwise legitimate objection when that party has not had

 any opportunity to initially voice the objection.”). Nor does the doctrine apply to preliminary

 orders. See, e.g., Platten v. HG Bermuda Exempted Ltd., 437 F.3d 118, n.8 (1st Cir.

 2006)(noting that “law of the case” doctrine does not apply to ex parte preliminary order).

        Here, Judge Oliver issued a preliminary order on an ex parte basis allowing the

 government to utilize the written narrative and handwritten notations in connection with the

 grand jury investigation. Defendants were not parties to that proceeding, which bore a different

 case name and number than this proceeding. The Court finds that the law of the case doctrine



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  does not apply because defendants were not parties to that different proceeding and did not have

  an opportunity to present any argument regarding the issue. Accordingly, the Court rejects the

  government’s argument that the law of the case doctrine prevents this Court from reconsidering

  Judge Oliver’s ruling.

         The Court now turns to whether the documents are protected by the attorney-client

  privilege. As the Supreme Court has noted:

         We readily acknowledge the importance of the attorney-client privilege, which is one of
         the oldest recognized privileges for confidential communications. By assuring
         confidentiality, the privilege encourages clients to make “full and frank” disclosures to
         their attorneys, who are then better able to provide candid advice and effective
         representation. This, in turn, serves broader public interests in the observance of law and
         administration of justice.

  Mohawk Industries, Inc. v. Carpenter, 558 U.S. 100, 108 (2009)(citations and quotations

  omitted). “Generally, the attorney-client privilege extends to confidential disclosures by a client

  to an attorney made in order to obtain legal assistance.” U.S. v. Moss, 9 F.3d 543 (6th Cir.

  1993). The burden of establishing that the privilege exists is on the person asserting it. In re

  Grand Jury Investigation No. 83-2-35, 723 F.2d 447, 450 (6th Cir. 1983).

          “[T]he work product doctrine ‘is distinct from and broader than the attorney-client
         privilege.’ ” In re Antitrust Grand Jury, 805 F.2d 155, 163 (6th Cir.1986) (quoting
         United States v. Nobles, 422 U.S. 225, 238 n. 11, 95 S.Ct. 2160, 45 L.Ed.2d 141 (1975)).
         While the attorney-client privilege protects only confidential communications, the work
         product doctrine generally protects from disclosure documents prepared by or for an
         attorney in anticipation of litigation. Id.; see also Hickman v. Taylor, 329 U.S. 495,
         510-12, 67 S.Ct. 385, 91 L.Ed. 451 (1947).

  Regional Airport Authority of Louisville v. LFG, LLC, 460 F.3d 697, 713 (6th Cir. 2006).

         As a general rule, disclosure of otherwise privileged material to a third-party acts as a

  waiver of the attorney-client privilege. “A joint defense extension of the attorney-client

  privilege has been applied to confidential communications shared between co-defendants which


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  are part of an on-going and joint effort to set up a common defense strategy.” Moss, 9 F.3d at

  550 (citations and quotations omitted). This extension is sometimes referred to as the “joint

  defense privilege,” the “common interest privilege,” or the “community of interest privilege.”

  “The common interest privilege...is not an independent privilege, but an exception to the general

  rule that the attorney-client privilege is waived when privileged information is disclosed to third

  parties, and assumes the existence of an underlying privilege.” Falana v. Kent State University,

  2012 WL 6084630 (N.D. Ohio Dec. 6, 2012). “...[A]s an exception to waiver, the joint defense

  or common interest rule presupposes the existence of an otherwise valid privilege, and the rule

  applies not only to communications subject to the attorney-client privilege, but also to

  communications protected by the work-product doctrine.” In re Grand Jury Subpoenas, 902

  F.2d 244 (4th Cir. 1990). Although the Sixth Circuit3 does not appear to have directly adopted

  the requirements of the common interest doctrine, other circuit courts have done so. See,

  American Management Services, LLC v. Department of the Army, 703 F.3d 724 (4th Cir.

  2013)(“The common interest doctrine permits parties whose legal interests coincide to share

  privileged materials with one another in order to more effectively prosecute or defend their

  claims.”); United States v. Gonzalez, 669 F.3d 974 (9th Cir. 2012)(noting that the district court’s

  ruling “conflicts with a number of this circuit's precedents establishing that the joint defense

  privilege is an extension of the attorney-client privilege, and does establish a duty of

  confidentiality on the part of the additional attorney and party to the agreement”).



   3
           In United States v. Parenteau, 529 Fed.Appx. 532 (6th Cir. June
           27, 2013), the Sixth Circuit cited In re Teleglobe Communications
           Corp., 493 F.3d 345 (3rd Cir. 2007) with approval. In Teleglobe
           the Third Circuit applied a Delaware evidentiary rule directed at
           the community of interest privilege.

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         Recognizing the inherent tension between the beneficial goals of the attorney-client
         privilege and the courts' right to every person's evidence, the courts have articulated the
         following principles to inform our analysis of the scope of the common interest doctrine:

         (1) Courts construe the privilege to apply only where necessary to achieve its purpose.

         (2) Only those communications which reflect the lawyer's thinking or are made for the
         purpose of eliciting the lawyer's professional advice or other legal assistance fall within
         the privilege.
         (3) Because one of the objectives of the privilege is assisting clients in conforming their
         conduct to the law, litigation need not be pending for the communication to be made in
         connection to the provision of legal services.

         (4) Because the privilege is in derogation of the search for truth, any exceptions to the
         requirements of the attorney-client privilege must be strictly confined.

  United States v. BDO Seidman, LLP, 492 F.3d 806, 815 (7th Cir. 2007)(citations and quotations

  omitted). “...[T]he common interest doctrine only will apply where the parties undertake a joint

  effort with respect to a common legal interest, and the doctrine is limited strictly to those

  communications made to further an ongoing enterprise.” Id. at 856-57 (citation omitted).

         Upon review, the Court finds that the handwritten notes sent by Suarez to Giorgio and

  Housos are not protected by the attorney-client privilege or work product doctrine. Therefore,

  neither the “joint defense privilege” nor the “common interest doctrine” applies because those

  doctrines do not extend the scope of the attorney-client privilege. Neither note was prepared “by

  or for an attorney in anticipation of litigation.” Therefore, the work product doctrine does not

  apply. Nor has Suarez established that the handwritten notes are protected by the attorney-client

  privilege. As an initial matter, the handwritten note to Giorgio conveys no legal advice and does

  not represent a communication between an attorney and a client. Moreover, Suarez fails to

  establish that an attorney actually provided the legal advice contained in the note to Housos. In

  that note, Suarez indicates that he was informed that the government will prosecute Housos as a



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  co-conspirator even if she receives a letter of immunity. He further instructs her not to report

  wrongdoing to her attorney because they could turn her in. There is simply no evidence that any

  such advice was actually provided by an attorney. Thus, even assuming the joint defense

  privilege protects the sharing of legal advice among co-defendants, the privilege does not extend

  to Suarez’s handwritten note to Housos.

          Assuming arguendo that the joint defense privilege extends the work product doctrine or

  the attorney-client privilege to cover the sharing of the five-page typed narrative among Suarez,

  Giorgio, and Housos, the Court finds that the crime-fraud exception defeats any applicable

  privilege.4

          The Sixth Circuit has articulated a two-part test for applying the crime-fraud exception:

  “First, the government must make a prima facie showing that a sufficiently serious crime or

  fraud occurred to defeat the privilege; second, the government must establish some relationship

  between the communication at issue and the prima facie violation.” United States v. Collis, 128

  F.3d 313, 321 (6th Cir. 1997)(quoting In re Antitrust Grand Jury, 805 F.2d 155, 164 (6th Cir.

  1986)(applying the two-part test in a criminal proceeding)). “The evidentiary burden for making

  this prima facie showing is the same as that for demonstrating probable cause–such that ‘a

  prudent person [would] have a reasonable basis to suspect the perpetration of a crime or fraud.’”

   4
           The Court finds that the version of the narrative containing
           Giorgio’s handwritten notations is not covered by the work
           product doctrine or the attorney-client privilege. Although Suarez
           provided an affidavit from an attorney indicating that Suarez’s
           version was provided to a number of attorneys in July of 2012,
           Giorgio provided no such affidavit. There is simply no indication
           that this version was provided to any attorney for the purpose of
           litigation or to secure legal advice. Therefore, the attorney-client
           (or joint defense) privilege does not extend to cover the version
           containing Giorgio’s handwritten corrections.

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  United States v. Clem, 210 F.3d 373 (6th Cir. 2000) (quoting In re Antitrust Grand Jury, 805

  F.2d 155, 164–65 (6th Cir. 1986)). The relevant criminal intent is that of the client, and the

  intended crime or fraud need not actually occur for the exception to apply. See Collis, 128 F.3d

  at 321.

            Here, the government argues that Suarez circulated the narrative, which contains

  materially false statements about the manner in which the contributions were reimbursed.

  Suarez indicates that from the beginning any donation made and reimbursed by SCI would have

  to be paid back to SCI through profit sharing. This statement is directly contradicted by Toth’s

  grand jury testimony, in which he indicates that he was asked to make campaign donations and

  that the donation would be reimbursed. He indicated that he was not informed that he would

  have to repay the reimbursement. The narrative was sent to Housos along with the handwritten

  note that indicates that, regardless of whether immunity is offered by the government, Housos

  will nonetheless be prosecuted. Suarez further indicates that her testimony is key to keeping

  Giorgio from being indicted, which would “bring down” SCI. The court finds that a prudent

  person would have reasonable cause to believe that Suarez sent Housos the false document in an

  effort to persuade her to adopt his version of the facts in her grand jury testimony in order to

  avoid “bringing down” SCI and causing Giorgio’s indictment. Accordingly, the Court finds that

  the crime-fraud exception vitiates any attorney-client privilege that may otherwise protect the

  document from disclosure.5

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             The Court finds that probable cause exists to support the
             application of the crime-fraud exception. The Court provided
             defendants with an opportunity to be heard on this issue and, in
             fact, defendants provided some evidentiary support in the context
             of the pre-trial briefing. As such, the Court finds that an oral
             hearing is not required.

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         2. The Guthrie documents

         Defendant Suarez moves to suppress the Guthrie documents. The Guthrie documents

  consist of an email from Scott Guthrie, an employee working in Josh Mandel’s office, to

  defendant Suarez discussing a $30,000 contribution, as well as a fax cover sheet. The documents

  also contain handwritten notations. According to defendant, these documents were illegally

  seized without a search warrant. By separate Order, the Court concluded that probable cause

  exists to support the search of SCI’s premises. Because the originals of the Guthrie documents

  were obtained pursuant to a lawful search of the premises, the Court finds that it need not

  address whether the copies obtained by Housos through her attorney were illegally obtained.

         3. The email from SCI’s counsel to Suarez’s assistant

         Defendants move to strike an email sent from SCI’s in-house counsel to Suarez’s

  assistant. The email was seized during the execution of a search warrant. The document is

  referenced in paragraph 85 of the superseding indictment. It is an email from Michael R.

  Puterbaugh, in-house counsel, to Suarez’s assistant. The email indicates as follows:

         Ben would like a copy of the Josh Mandel letter to go:

         Husted

         Portman

         Renacci

         DeWine

         Kasich

         Thanks.

         On the email, Renacci’s name is circled and a handwritten notation provides, “all sent



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  UPS next day except [the circled name] 5/20/11; Renacci sent 5/24.”

         Defendants argue that the email is a privileged communication. According to defendants,

  the email contains the mental impressions of an attorney. Defendants offer the affidavit of Mike

  Puterbaugh, SCI’s then corporate counsel and the author of the email. Puterbaugh avers that the

  document recounts Suarez’s decision as to which Ohio elected officials should receive the letter.

  According to Puterbaugh, the decision was made – and reflects– Suarez’s confidential legal

  communications over many months with counsel. Defendant Suarez argues that Puterbaugh

  provided him with legal advice. Therefore, he has standing to move to strike Paragraph 85 on

  the basis that the email is privileged.

         The government argues that this email contains simple instructions to Suarez’s assistant

  to mail copies of a letter. The government further claims that simple ministerial functions are

  not communications covered by the attorney-client privilege. In addition, the government argues

  that the privilege, to the extent it covers this email, belongs to SCI, not Suarez. SCI did not

  move to strike this allegation from the complaint. Suarez, the only moving defendant, lacks

  standing to claim that this document is privileged.

         Upon review, the Court finds that the email at issue is not covered by the attorney-client

  privilege. As set forth above, the attorney-client privilege protects from “confidential

  disclosures by a client to an attorney made in order to obtain legal assistance.” Here, the email is

  a ministerial instruction to an assistant to send letters to certain individuals. The document does

  not divulge any legal advice. As such, it is not privileged and defendants’ request to strike the

  allegations from the indictment is rejected.




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        CONCLUSION

        For the foregoing reasons, the Motion of Benjamin Suarez to Suppress Documents That

  Barbara Housos and Her Counsel Provided to the Government and to Require the Government to

  Return the Documents (Doc. 47) is DENIED. The Motion of Benjamin Suarez to Strike

  Allegations Regarding Privileged Documents (Doc. 52) is also DENIED.

   IT IS SO ORDERED.




                                      /s/ Patricia A. Gaughan
                                      PATRICIA A. GAUGHAN
                                      United States District Judge
   Dated: 5/8/14




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